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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on February 14, 2022

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-mj-226

YVONNE ST CYR, : VIOLATIONS:
: 18 U.S.C. §§ 231(a)(3), and 2
. (Civil Disorder)

Defendant. > 18 U.S.C. § 1752(a)(1)

* (Entering and Remaining in a Restricted
* Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol! Building)

INDICTMENT

The Grand Jury charges that:

COUNT ONE
On or about January 6, 2021, at approximately 2:15-2:30 p.m., within the District of
Columbia, YVONNE ST CYR, committed and attempted to commit an act to obstruct, impede,
and interfere with a law enforcement officer at a barricade on the West Plaza of the United States
Capitol, who was lawfully engaged in the lawful performance of his/her official duties incident to

and during the commission of a civil disorder which in any way and degree obstructed, delayed,
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and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Section 231(a)(3), and 2)

COUNT TWO

On or about January 6, 2021, at approximately 2:56-3:19 p.m., within the District of
Columbia, YVONNE ST CYR, committed and attempted to commit an act to obstruct, impede,
and interfere with a law enforcement officer in the Lower West Terrace tunnel, who was lawfully
engaged in the lawful performance of his/her official duties incident to and during the commission
of a civil disorder which in any way and degree obstructed, delayed, and adversely affected
commerce and the movement of any article and commodity in commerce and the conduct and
performance of any federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Section 231(a)(3), and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, YVONNE ST CYR, did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, YVONNE ST CYR, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
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restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, YVONNE ST CYR,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building ofa hearing before or any deliberation of, a committee of Congress or either House

of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, YYONNE ST CYR,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
